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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

  IN RE:                                      §
                                              §
  UPPER PADRE PARTNERS, L.P.                  §       CASE NO. 17-51045
                                              §
  DEBTOR                                      §       CHAPTER 11

                 NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
                       OF NOTICES, PLEADINGS AND ORDERS

           PLEASE TAKE NOTICE that the undersigned counsel hereby enters their appearance on

  behalf of INTERNATIONAL BANK OF COMMERCE, pursuant to the Federal Rules of

  Bankruptcy Procedure, and the Local Bankruptcy Rules for the Western District of Texas and

  requests copies of all notices and pleadings. All such notices should be addressed to the

  following:

                                       Michael G. Colvard
                                  MARTIN & DROUGHT, P.C.
                                   2500 Bank of America Plaza
                                        300 Convent Street
                                    San Antonio, Texas 78205
                                    (210) 227-7591 Telephone
                                     (210) 227-7924 Facsimile
                                      mcolvard@mdtlaw.com


           Please take further notice that, pursuant to Fed. R. Bankr. P. 2002, the foregoing

  demand includes not only the notices and papers referred to in the Rules specified above but also

  includes, without limitation, notices of any application, complaint, demand, hearing, motion,

  petition, pleading or request, whether formal or informal, written or oral, and whether

  transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or otherwise filed with

  regard to the above referenced case and the proceedings therein.
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                                                  Respectfully submitted,

                                                  MARTIN & DROUGHT, P.C.
                                                  2500 Bank of America Plaza
                                                  300 Convent Street
                                                  San Antonio, Texas 78205-3789
                                                  Telephone: (210) 227-7591
                                                  Facsimile: (210) 227-7924
                                                  E-Mail: mcolvard@mdtlaw.com

                                                  By: /s/ Michael G. Colvard
                                                      Michael G. Colvard
                                                      State Bar No. 04629200

                                                  ATTORNEYS FOR INTERNATIONAL
                                                  BANK OF COMMERCE


                                  CERTIFICATE OF SERVICE

          I certify that on this 2nd day of May, 2017, I electronically transmitted a PDF version of
  this document to the Office of the Clerk of the Bankruptcy Court, using the CM/ECF System, for
  filing and transmittal of a Notice of Electronic Filing to the CM/ECF registrants.


                                                  /s/Michael G. Colvard
                                                  _________________________________
                                                  Michael G. Colvard
